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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

Anton Harris,

       Petitioner,

v.                                            Criminal Case No. 11-20752
                                              Civil Action No. 14-12904
United States of America,
                                              Sean F. Cox
      Respondent.                             United States District Court Judge
___________________________/

                                             ORDER

       Acting pro se, on July 24, 2014, Petitioner Anton Harris (“Harris”) filed a Motion to

Vacate Sentence, pursuant to 28 U.S.C. § 2255.

       In responding to the motion, the Government stated that one of the three claims raised by

Harris in his motion requires an evidentiary hearing.

       Thereafter, this Court appointed counsel for Harris. (Docket Entry No. 555).

       Before Harris became aware that counsel had been appointed for him, on May 19, 2015,

Harris filed a pro se motion asking to be able to supplement his § 2255 motion to add some

additional claims. (Docket Entry No. 565).

       The Court held a Status Conference with counsel on June 24, 2015, at which time counsel

for Harris asked the Court to allow him to file a supplemental brief, after conferring with Harris.

The Court then set a briefing schedule and set a date for an evidentiary hearing. This matter was

delayed, however, when counsel for Harris could not locate or communicate with Harris for a

period of time while Harris was being transported to this district.

       On September 18, 2015, this Court held a Status Conference with the parties, after

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counsel for Harris had an opportunity to meet with Harris in person. Counsel for Harris

requested time to investigate some facts relating to Harris’s claims and requested that he be able

to file a supplemental brief.

          On September 21, 2015, this Court issued an order requiring Counsel for Harris to file “a

supplemental brief that sets forth each and every claim that Harris seeks to assert in his § 2255

Motion,” including, “on a claim-by-claim basis, any requests for an evidentiary hearing.”

(Docket Entry No. 582). The order required that brief to be filed by Counsel for Harris by

November 1, 2015, and required the Government’s response by November 24, 2015. (Id.).

          Prior to November 1, 2015, however, Harris filed a pro se letter/motion asking the Court

to appoint new counsel for him. Harris’s appointed counsel, Mr. Minnick, also filed a Motion to

Withdraw, indicating that Harris is not satisfied with his representation because, among other

things, he refused to file a motion asking the Court to release Harris on bond pending the

evidentiary hearing.

          This Court held a hearing regarding the Motion to Withdraw on October 21, 2015. At

that hearing, Harris indicated that he no longer wishes Mr. Minnick to represent him in this

matter.

          The Court hereby GRANTS Mr. Minnick’s Motion to Withdraw. The Court also

GRANTS, IN PART, Harris’s request that a new attorney be appointed to represent him.

          As the Court reminded the parties at hearing, there is no constitutional right to the

appointment of counsel in civil cases. This Court does, however, have broad discretion in

determining whether counsel should be appointed. Childs v. Pellegrin, 822 F.2d 1382, 1384 (6th

Cir. 1987). A habeas petitioner may obtain representation at any stage of the case “[w]henver


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the United States magistrate or the court determines that the interests of justice so require.” 18

U.S.C. § 3006A(a)(2).

       IT IS HEREBY ORDERED that the Federal Defender’s Office shall appoint new

counsel for Harris for the limited purpose of representing him at the evidentiary hearing in

this matter.

       IT IS FURTHER ORDERED that, no later than November 24, 2015, the Government

shall file a response to Harris’s pro se “Motion for Permission to Supplement his Pending §

2255 Motion with Additional Meritorious Issues.” (Docket Entry No. 565).

       Following the conclusion of that briefing, this Court shall schedule a new date for the

evidentiary hearing in this matter and provide the parties further direction.

       IT IS SO ORDERED.


Dated: October 22, 2015                               s/ Sean F. Cox
                                                      Sean F. Cox
                                                      U. S. District Judge


I hereby certify that on October 22, 2015, the foregoing document was served on counsel of
record via electronic means and upon Anton Harris via First Class mail at the address below:

Anton Harris 46629-039
Sanilac County Jail
65 N. Elk
Sandusky, MI 48471
                                                      s/ J. McCoy
                                                      Case Manager




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